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AO 245B (Mod. D/NJ 12/06) Sheet 1 - Judgment in a Criminal Case




                                                           UNITED STATES DISTRICT COURT
                                                                 District of New Jersey


  UNITED STATES OF AMERICA

              v.                                                            CASE NUMBER      3:18-CR-00215-MAS-3
 ANGELO K. THOMPSON

            Defendant.


                                                          JUDGMENT IN A CRIMINAL CASE
                                               (For Offenses Committed On or After November 1, 1987)


            The defendant, ANGELO K. THOMPSON, was represented by SCOTT ALAN KRASNY, CJA.

            On motion of the United States, the court has dismissed counts 8 and 9 of the Indictment.

The defendant pleaded guilty to count 1 of the INDICTMENT on 8/8/2019.                Accordingly, the court has adjudicated that the
defendant is guilty of the following offense:

                                                                                                                      Count
 Title & Section                 Nature of Offense                                            Date of Offense         Number

 18:371                          CONSPIRACY TO DEFRAUD THE UNITED STATES                      2/2013-2/2017           1


       As pronounced on October 15, 2020, the defendant is sentenced as provided in pages 2 through 7 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

         It is ordered that the defendant must pay to the United States a special assessment of $100.00 for count 1, which
shall be due immediately. Said special assessment shall be made payable to the Clerk, U.S. District Court.

        It is further ordered that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of any
material change in economic
                       cono
                          omic circumstances.

            Signed this ___ day of November, 2020.


                                                                             ___________________________
                                                                             ______________ ____
                                                                                            _____
                                                                                                _
                                                                             Michael
                                                                             Mi h lA A. Shipp
                                                                                        Shi
                                                                             United States District Judge




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AO 245B (Mod. D/NJ 12/06) Sheet 2 - Imprisonment


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                                                   IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
term of 27 months.

         The Court makes the following recommendations to the Bureau of Prisons: designation of a facility for service of
this sentence as near as possible to defendant's home address.

       The defendant will surrender for service of sentence at the institution designated by, and on the date set by, the
Bureau of Prisons.




                                                       RETURN

      I have executed this Judgment as follows:
_________________________________________________________________________________________________
_________________________________________________________________________________________________
_________________________________________________________________________________________________
_________________________________________________________________________________________________

            Defendant delivered on                                 To ________________________________________
 At                                                                   , with a certified copy of this Judgment.


                                                                           __________________________
                                                                              United States Marshal

                                                                           By _________________________
                                                                                Deputy Marshal
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AO 245B (Mod. D/NJ 12/06) Sheet 3 - Supervised Release


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                                                         SUPERVISED RELEASE
            Upon release from imprisonment, you will be on supervised release for a term of 3 years.

         Within 72 hours of release from custody of the Bureau of Prisons, you must report in person to the Probation Office
in the district to which you are released.

         While on supervised release, you must not commit another federal, state, or local crime, must refrain from any
unlawful use of a controlled substance and must comply with the mandatory and standard conditions that have been adopted
by this court as set forth below.

        You must submit to one drug test within 15 days of commencement of supervised release and at least two tests
thereafter as determined by the probation officer.

            You must cooperate in the collection of DNA as directed by the probation officer

        If this judgment imposes a fine, special assessment, costs, or restitution obligation, it is a condition of supervised
release that you pay any such fine, assessments, costs, and restitution that remains unpaid at the commencement of the
term of supervised release.

            You must comply with the following special conditions:

            FINANCIAL DISCLOSURE

            Upon request, you must provide the U.S. Probation Office with full disclosure of your financial records, including co-
            mingled income, expenses, assets and liabilities, to include yearly income tax returns. With the exception of the
            financial accounts reported and noted within the presentence report, you are prohibited from maintaining and/or
            opening any additional individual and/or joint checking, savings, or other financial accounts, for either personal or
            business purposes, without the knowledge and approval of the U.S. Probation Office. You must cooperate with the
            U.S. Probation Officer in the investigation of your financial dealings and must provide truthful monthly statements
            of your income. You must cooperate in the signing of any authorization to release information forms permitting the
            U.S. Probation Office access to your financial records.

            INTERNAL REVENUE SERVICE - COOPERATION

            You must fully cooperate with the Internal Revenue Service by filing all delinquent or amended returns within six
            months of the sentence date and timely file all future returns that come due during the period of supervision. You
            must properly report all corrected taxable income and claim only allowable expenses on those returns. You must
            provide all appropriate documentation in support of said returns. Upon request, you must furnish the Internal
            Revenue Service with information pertaining to all assets and liabilities, and you must fully cooperate by paying all
            taxes, interest and penalties due, and otherwise comply with the tax laws of the United States.

            NEW DEBT RESTRICTIONS

            You are prohibited from incurring any new credit charges, opening additional lines of credit, or incurring any new
            monetary loan, obligation, or debt, by whatever name known, without the approval of the U.S. Probation Office. You
            must not encumber or liquidate interest in any assets unless it is in direct service of the fine and/or restitution
            obligation or otherwise has the expressed approval of the Court.

            SELF-EMPLOYMENT/BUSINESS DISCLOSURE

            You must cooperate with the U.S. Probation Office in the investigation and approval of any position of self-
            employment, including any independent, entrepreneurial, or freelance employment or business activity. If approved
            for self-employment, you must provide the U.S. Probation Office with full disclosure of your self-employment and
            other business records, including, but not limited to, all of the records identified in the Probation Form 48F (Request
            for Self Employment Records), or as otherwise requested by the U.S. Probation Office.
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AO 245B (Mod. D/NJ 12/06) Sheet 3 - Supervised Release


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            OCCUPATIONAL RESTRICTIONS

            As a further special condition of supervised release, you must refrain from employment that involves the preparation
            of tax returns.
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AO 245B (Mod. D/NJ 12/06) Sheet 3a - Supervised Release


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                                                 STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions
are imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum
tools needed by probation officers to keep informed, report to the court about, and bring about improvements in your conduct
and condition.


1) You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours
   of your release from imprisonment, unless the probation officer instructs you to report to a different probation office or
   within a different time frame.

2) After initially reporting to the probation office, you will receive instructions from the court or the probation officer about
   how and when you must report to the probation officer, and you must report to the probation officer as instructed.

3) You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
   permission from the court or the probation officer.

4) You must answer truthfully the questions asked by your probation officer.

5) You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
   living arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the
   change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify
   the probation officer within 72 hours of becoming aware of a change or expected change.

6) You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
   probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain
   view.

7) You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
   excuses you from doing so. If you do not have fulltime employment you must try to find full-time employment, unless
   the probation officer excuses you from doing so. If you plan to change where you work or anything about your work
   (such as your position or your job responsibilities), you must notify the probation officer at least 10 days before the
   change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated
   circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected
   change.

8) You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone
   has been convicted of a felony, you must not knowingly communicate or interact with that person without first getting
   the permission of the probation officer.

9) If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10) You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e..
    anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another
    person such as nunchakus or tasers).

11) You must not act or make any agreement with a law enforcement agency to act as a confidential human source or
    informant without first getting the permission of the court.

12) If the probation officer determines that you pose a risk to another person (including an organization), the probation
    officer may require you to notify the person about the risk and you must comply with that instruction. The probation
    officer may contact the person and confirm that you have notified the person about the risk.
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AO 245B (Mod. D/NJ 12/06) Sheet 3a - Supervised Release


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                                                 STANDARD CONDITIONS OF SUPERVISION
13) You must follow the instructions of the probation officer related to the conditions of supervision.




                                                          For Official Use Only - - - U.S. Probation Office

   Upon a finding of a violation of probation or supervised release, I understand that the Court may (1) revoke supervision
or (2) extend the term of supervision and/or modify the conditions of supervision.

    These conditions have been read to me. I fully understand the conditions, and have been provided a copy of them.

  You shall carry out all rules, in addition to the above, as prescribed by the Chief U.S. Probation Officer, or any of his
associate Probation Officers.

                                     (Signed)_____________________________________________________________________
                                                          Defendant                                Date


                                                 _____________________________________________________________________
                                                     U.S. Probation Officer/Designated Witness         Date
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AO 245B (Mod. D/NJ 12/06) Sheet 6 - Restitution and Forfeiture


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                                                                 RESTITUTION AND FORFEITURE


                                                                        RESTITUTION

         The defendant shall make restitution in the amount of $103,320.00. Payments should be made payable to the U.S.
Treasury and mailed to Clerk, U.S.D.C., 402 East State Street, Rm 2020, Trenton, New Jersey 08608, for distribution to
Internal Revenue Service, MSC 6261 Restitution, 333 W Pershing Rd, Kansas City, MO, 64108-4302.

The amount ordered represents the total amount due to the victim for this loss. The defendant’s restitution obligation shall
not be affected by any restitution payments made by other defendants in this case, except that no further payments will be
required once payment(s) by one or more defendants fully satisfies the victim’s loss. The following defendants in the
following cases are jointly and severally responsible for restitution orders to the same victim for this same loss:

               JOSEPH KENNY BATTS                                                     3:18-cr-215-01

               TONY V. RUSSELL                                                        3:18-cr-215-02


        The restitution is due immediately. It is recommended that the defendant participate in the Bureau of Prisons Inmate
Financial Responsibility Program (IFRP). If the defendant participates in the IFRP, the restitution shall be paid from those
funds at a rate equivalent to $25 every 3 months. In the event the entire restitution is not paid prior to the commencement
of supervision, the defendant shall satisfy the amount due in monthly installments of no less than $200.00, to commence
30 days after release from confinement.




        Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.

         Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4)
fine principal, (5) fine interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost
of prosecution and court costs.
